                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHN DOE,                                      )
                                               )
     Plaintiff,                                )
                                               )
v.                                             )          NO. 3:18-cv-00569
                                               )
VANDERBILT UNIVERSITY, et al.,                 )          JUDGE CAMPBELL
                                               )          MAGISTRATE JUDGE FRENSLEY
     Defendants.                               )

                                           ORDER

         Pending before the Court is a Defendants’ Motion to Dismiss (Doc. No. 15), which was

 filed on August 10, 2018, and seeks dismissal of claims asserted in Plaintiff’s First Amended

 Complaint (Doc. No. 8). On September 24, 2018, Plaintiff filed a Second Amended Complaint

 (Doc. No. 35). Accordingly, Defendants’ Motion to Dismiss (Doc. No. 15) is DENIED, as moot.

           It is so ORDERED.

                                                   __________________________________
                                                   WILLIAM L. CAMPBELL, JR.
                                                   UNITED STATES DISTRICT JUDGE




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